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DEMETRAS LAW

J. Craig Demetras

Nevada Bar. No. 4246

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Attorney for Debtor

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UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEVADA

IN RE
PHILIP ANDREW MACKEN,

Debtor

BK-N-23-50950-HLB
Chapter 13
STIPULATION REGARDING

DEPOSITION OF REVENUE
/ | AGENTS BENJAMIN

HAMILTON AND JOANNA
LYONS

Deposition Date: JULY 15 AND
JULY 16, 2025
Deposition Time: 9:00 AM PT

follows:

Street Reno, NV 89501.

The parties, represented by undersigned counsel, agree and stipulate as

1. The Debtor will take Revenue Agent Benjamin Hamilton’s deposition on
July 15, 2025, at 9:00 AM PDT until completed, as permitted by under
Federal Rule of Civil Procedure 30(d).

2. The deposition will be held at the office of Demetras Law at 230 E. Liberty

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Mr. Hamilton’s deposition will be recorded via stenographic and videotape
means.

Revenue Agent Benjamin Hamilton will be physically present at the office
of Demetras Law on July 15, 2025, at 9:00 AM PDT.

The parties agree that Kenton McIntosh or Patrick R. Burnett, counsel for
the United States, is authorized to and will accept service of a subpoena on
Revenue Agent Benjamin Hamilton’s behalf compelling his attendance at
the deposition in accordance with this Stipulation.

The parties agree that the scope of the deposition will include all issues
related to pending discovery requests, Mr. Hamilton’s background, and
related follow up questions.

The Debtor is not liable to Revenue Agent Benjamin Hamilton for any
travel costs or witness fee for attending the deposition described in this

Stipulation,

Further, the parties agree:
8,

The Debtor will take Revenue Agent Joanna Lyon’s deposition on July 16,
2025, at 9:00 AM PDT until completed, as permitted by under Federal Rule
of Civil Procedure 30(d).

The deposition will be held at the office of Demetras Law at 230 E. Liberty
Street Reno, NV 89501.

10. Ms. Lyon’s deposition will be recorded via stenographic and videotape

means.

11. Revenue Agent Joanna Lyons will be physically present at the office of

Demetras Law on July 16, 2025, at 9:00 AM PDT,

12. The parties agree that Kenton McIntosh or Patrick R. Burnett, counsel for

the United States, is authorized to and will accept service of a subpoena on
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Revenue Agent Joanna Lyon’s behalf compelling her attendance at the
deposition in accordance with this Stipulation.

13. The parties agree that the scope of the deposition will include all issues
related to pending discovery requests, Ms, Lyon’s background, and related
follow up questions.

14. The Debtor is not liable to Revenue Agent Joanna Lyons for any travel
costs or witness fee for attending the deposition described in this
Stipulation.

DATED this 16" day of June, 2025,

DEMETRAS LAW
/s/ J. Craig Demetras
By: J. Craig Demetras
Attorney for Debtor

UNITED STATES

/s/ Patrick R. Burnett
PATRICK R, BURNETT
KENTON MCINTOSH
Trial Attorney, Tax Division
U.S. Department of Justice
P.O. Box 683

Washington, D.C. 20044
Counsel for United States

